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     Title    25 HEALTH SERVICES
     Part     1 DEPARTMENT                                 OF STATE HEALTH SERVICES
     Chapter 181                         Vital Statistics


     Subchapter                        B Vital Records
     Amendment                          § 18122




                                                                                   Proposed       Preamble



     The Executive Commissioner of the Health and Human Services                                                          Commission on behalf of the

     Department of State Health                                   Services    department proposes                  an amendment to § 18122

     concerning                        the   waiver      of a fee for a certified record



     BACKGROUND AND PURPOSE

     Health      and Safety                       Code § 1910045              authorizes the Executive                 Commissioner of the Health and
     Human       Services                        Commission to adopt administrative                      rules that
                                                                                                                         prescribe a schedule    of fees for

     vital    statistics services                        performed      by the Bureau             of Vital Statistics the bureau of the

     department                         This statute           also requires a local registrar            or county clerk who issues a certified

     copy of a birth record to charge the same fee                                          as   the bureau



     Section     18122                       currently     prescribes fees for the production                     of certified     copies of birth records
     Under 37 TAC                            §   15182     Department of Public Safety                   DPS        an individual      who applies for an
     Election     Identification                         Certificate    EIC issued by the DPS pursuant to Transportation Code
     Chapter      521A may be required to produce                                      an original or certified            copy of a birth record       The
     cost of a certified                         birth   record     may impose         a barrier to a          person   who   is   required to produce a

     certified    copy                   for     the purpose of obtaining             an EIC



     The proposed amendment waives                                      the   fees charged          under § 18122 for a certified           copy of a birth
     record for an individual who requires a certified                                            copy   in order to      obtain an EIC The waiver

     applies to                an individual              who requests        a certified         copy from the department             a local registrar or a

     county clerk



     The DPS           reports                   that as of the publication            date of this proposed amendment                   fewer than twenty

     individuals                       statewide have requested               an    EIC Accordingly              the    department believes that the

     proposed amendment                                 will    not negatively affect            fees   and charges otherwise assessed and
     collected      by local registrars and county                                 clerks    under      §18122


     SECTIONBYSECTION                                           SUMMARY

     The amendment to                              §   18122     stipulates    the requirements for waiver                 of fees associated    with

     obtaining            an election identification                      certificate       pursuant to the Transportation               Code Chapter
     521A


     FISCAL NOTE




                                                                              Proposed           Prea    ble
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                  exhibitsticker.com




09/02/2014

DEF1469
                                                                                                                                                                TEX0507635
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 Geraldine Harris           Unit Director of the Vital Statistics Unit has determined that due to the low

 number of individuals                who have requested             an    EIC from the DPS for each year of the first                                   five

 years that the section          is    in   effect    there   will   be no fiscal           implications               to state    or local

 governments         as   a result of enforcing and administering                           the section           as    proposed


 SMALL AND MICROBUSINESS IMPACT ANALYSIS

Ms Harris has also determined that there will be no adverse economic costs to small businesses
or microbusinesses              required to comply with the section                                                     This was determined by
                                                                                             as     proposed
interpretation       of the rule that small businesses                     and microbusinesses                     will         not be required to alter
their business                         in order to                   with the section
                        practices                      comply


ECONOMIC COSTS TO PERSONS AND IMPACT ON LOCAL EMPLOYMENT

There are no         anticipated        costs to persons        who are required to comply                             with the section as

proposed          There    is   no    anticipated      negative      impact on local employment



PUBLIC BENEFIT


Additionally         Ms Harris has also determined that for each year of the                                            first    five   years the section
is    in effect   the   public       will   benefit    from the adoption of this amendment because                                        it   allows a

person     who does not have a birth certificate                     to    obtain one          at   little   or no cost for the purpose                   of

securing an EIC to vote



REGULATORY ANALYSIS

The department has determined                     that this proposal             is   not a major environmental                          rule     as   defined

by Government Code §20010225                             Major environmental                      rule       is   defined to         mean a rule the
specific    intent      of which       is   to protect the    environment              or   reduce risk to human health from

environmental           exposure and that            may adversely affect                   in a material
                                                                                                                   way the economy                 a    sector

of the economy            productivity                                                environment or the public                         health and safety
                                                competition jobs                the

of a state or a sector of the state This proposal                          is   not specifically             intended to protect the

environment or reduce                risks to   human health from environmental exposure


TAKING IMPACT ASSESSMENT


The department has determined                     that the    proposed rule does not restrict                            or limit       an owners right
to his or her property           that would          otherwise exist in the absence of government                                    action      and
therefore     do not constitute a taking under Government Code                                        §2007043




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PUBLIC COMMENT


Comments on the proposal may be submitted                                 to   Marc Connelly Deputy General Counsel

Department of State Health Services Mail Code 1919                                      PO Box 149347 Austin Texas
         telephone        512 7766683                or marcconnellydshsstatetxus                                      Comments           will   be accepted
for   30 days following publication                   of the proposal in the Texas                     Register




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LEGAL CERTIFICATION

The Department of State Health Services                 General Counsel Lisa Hernandez                certifies   that the

proposed    rule     has been reviewed by legal counsel           and found       to be   within the state agencies

authority   to   adopt


STATUTORY             AUTHORITY

The amendment is proposed under Health and Safety Code                          §1910045      which authorizes the
bureau    of vital   statistics   to   charge fees for the preparation      and issuance      of certified    copies of a
birth   record and prescribe a schedule          of fees   §   191002 which        authorizes rules necessary         for the

effective   administration        of Vital Statistics Records       and Government          Code §5310055           and

Health and Safety        Code §1001075          which authorize the Executive Commissioner of the Health
and Human Services          Commission to adopt          rules   and   policies   necessary    for   the operation and

             of health and human services
provision                                           by   the   department and for the administration              of Health

and Safety Code Chapter 1001


The amendment affects             Health   and Safety    Code Chapters 191          and 1001 and Government               Code
Chapter     531




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                                                                                                                                 TEX0507637
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Legend       Proposed Amendment
Single   Underline   = Proposed     new language
Bold Print and Brackets = Current language                   proposed       for deletion

Regular Print = Current language

No change = No changes are being considered for the designated                         subdivision



§18122       Fees Charged for Vital Records        Services



         a s No change
         t    The fee for a certified record that otherwise           is   required under this section     is   waived
for an applicant   who represents     that   the certified   record    is   required   for the   purpose of obtaining
an election   identification   certificate   issued pursuant to Transportation             Code Chapter 521A




                                                   Proposed




                                                                                                                         TEX0507638
